                   UNITED STATES BANKRUPTCY COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Nathan A Stepler
     Becky L Stepler
                                           Case No.:1-21-00141HWV

                                                           Chapter 13
                     Debtor(s)

                            NOTICE OF FINAL CURE PAYMENT

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
cure the pre-petition and post-petition default in the claim below has been paid in full and the
debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  Flagstar
 Court Claim Number:             04
 Last Four of Loan Number:       7848
 Property Address if applicable: 19759 Path Valley Rd

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.     Allowed prepetition arrearages:                                      $15,490.36
 b.     Prepetition arrearages paid by the trustee:                          $15,490.36
 c.     Amount of postpetition fees, expenses, and charges                   $0.00
        recoverable under Bankruptcy Rule 3002.1(c):
 d.     Amount of postpetition fees, expenses, and charges                   $0.00
        recoverable under Bankruptcy Rule 3002.1(c) and paid
        by the trustee:
 e.     Allowed postpetition arrearage:                                      $0.00
 f.     Postpetition arrearage paid by the trustee:                          $0.00
 g.     Total b, d, and f:                                                   $15,490.36

 PART 3: POSTPETITION MORTGAGE PAYMENT
  Mortgage was paid through the Trustee
  from March 2021 through May 2024
  Current monthly mortgage payment:                $1,011.67
  The next post-petition payment was due
  on:                                              June 2024

PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
counsel, and the trustee, within 21 days after service of this notice, a statement indicating
whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the




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default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
current on all postpetition payments as of the date of the response. Failure to file and serve the
statement may subject creditor to further action of the court, including possible sanctions.

To assist in reconciling the claim, a history of payments made by the trustee is attached to copies
of this notice sent to the debtor(s) and the creditor.


Dated: July 18, 2024                                   Respectfully submitted,


                                                       /s/ Jack N. Zaharopoulos
                                                       Standing Chapter 13 Trustee
                                                       Suite A, 8125 Adams Drive
                                                       Hummelstown, PA 17036
                                                       Phone: (717) 566-6097
                                                       Fax: (717) 566-8313
                                                       email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Re: Nathan A Stepler
    Becky L Stepler
                                                            Case No.:1-21-00141HWV

                                                            Chapter 13
                     Debtor(s)

                                 CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on July 18, 2024, I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown, PA,
unless served electronically.

  Served Electronically
  Nicholas G. Platt, Esquire
  Mooney Law
  230 York St
  Hanover PA 17331


  Served by First Class Mail
  Flagstar Bank
  ATT: Customer Service Dept
  5151 Corporate Dr
  Troy MI 48098

  Nathan A Stepler
  Becky L Stepler
  19759 Path Valley Rd
  Dry Run PA 17220



  I certify under penalty of perjury that the foregoing is true and correct.


  Date: July 18, 2024                                   /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com



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                                           Disbursements for Claim
Case: 21-00141           NATHAN A. STEPLER
         FLAGSTAR BANK
                                                                              Sequence: 07
         5151 CORPORATE DR
                                                                                 Modify:
                                                                             Filed Date:
         TROY, MI 48098-
                                                                             Hold Code:
 Acct No: 7848
         CONDUITS STOPPED AFTER MAY 2024 PAYMENT PER 2ND AP 5/1/24


                                             Debt:        $37,744.52       Interest Paid:                 $0.00
        Amt Sched:                 $0.00                                     Accrued Int:                  $0.00
         Amt Due:    $1,011.67                Paid:       $37,744.52        Balance Due:                   $0.00

Claim name                          Type      Date         Check #     Principal     Interest       Total Reconciled
                                                                                          DisbDescrp
 5010        FLAGSTAR BANK
501-0 FLAGSTAR BANK                         05/22/2024     2036325     $1,011.67       $0.00      $1,011.67 05/31/2024
                                                                                            Payment for 5/2024
501-0 FLAGSTAR BANK                         04/17/2024     2035328     $1,011.67       $0.00      $1,011.67 04/26/2024
                                                                                            Payment for 4/2024
501-0 FLAGSTAR BANK                         03/14/2024     2034370      $943.57        $0.00        $943.57 03/25/2024
                                                                                            Payment for 3/2024
501-0 FLAGSTAR BANK                         02/14/2024     2033412      $943.57        $0.00        $943.57 02/23/2024
                                                                                            Payment for 2/2024
501-0 FLAGSTAR BANK                         01/12/2024     2032503      $943.57        $0.00        $943.57 01/24/2024
                                                                                            Payment for 1/2024
501-0 FLAGSTAR BANK                         12/19/2023      2031581     $943.57        $0.00        $943.57 01/02/2024
                                                                                            Payment for 12/2023
501-0 FLAGSTAR BANK                         12/19/2023      2031581     $943.57        $0.00        $943.57 01/02/2024
                                                                                            Payment for 11/2023
501-0 FLAGSTAR BANK                         10/18/2023     2029685      $943.57        $0.00        $943.57 10/31/2023
                                                                                            Payment for 10/2023
501-0 FLAGSTAR BANK                         09/19/2023     2028686      $943.57        $0.00        $943.57 10/03/2023
                                                                                            Payment for 9/2023
501-0 FLAGSTAR BANK                         08/09/2023     2027676      $943.57        $0.00        $943.57 08/21/2023
                                                                                            Payment for 8/2023
501-0 FLAGSTAR BANK                         07/11/2023     2026715      $943.57        $0.00        $943.57 07/21/2023
                                                                                            Payment for 6/2023
501-0 FLAGSTAR BANK                         07/11/2023     2026715      $943.57        $0.00        $943.57 07/21/2023
                                                                                            Payment for 7/2023
501-0 FLAGSTAR BANK                         05/16/2023     2024832      $943.57        $0.00        $943.57 05/25/2023
                                                                                            Payment for 5/2023
501-0 FLAGSTAR BANK                         04/18/2023     2023806      $943.57        $0.00        $943.57 04/25/2023
                                                                                            Payment for 4/2023


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Claim name                       Type     Date        Check #     Principal   Interest       Total Reconciled
                                                                                   DisbDescrp
501-0 FLAGSTAR BANK                     03/15/2023    2022798      $927.58      $0.00     $927.58 03/22/2023
                                                                                  Payment for 2/2023
501-0 FLAGSTAR BANK                     03/15/2023    2022798      $927.58     $0.00      $927.58 03/22/2023
                                                                                  Payment for 3/2023
501-0 FLAGSTAR BANK                     01/18/2023    2020784      $927.58     $0.00      $927.58 01/27/2023
                                                                                  Payment for 1/2023
501-0 FLAGSTAR BANK                     12/13/2022    2019795      $927.58     $0.00      $927.58 12/22/2022
                                                                                  Payment for 12/2022
501-0 FLAGSTAR BANK                     11/16/2022    2018840      $927.58     $0.00      $927.58 12/08/2022
                                                                                  Payment for 11/2022
501-0 FLAGSTAR BANK                     10/18/2022    2017783      $927.58     $0.00      $927.58 10/26/2022
                                                                                  Payment for 10/2022
501-0 FLAGSTAR BANK                     09/13/2022    2016753      $927.58     $0.00      $927.58 09/20/2022
                                                                                  Payment for 9/2022
501-0 FLAGSTAR BANK                     08/17/2022    2015699      $927.58     $0.00      $927.58 08/24/2022
                                                                                  Payment for 8/2022
501-0 FLAGSTAR BANK                     07/13/2022    2014653      $927.58     $0.00      $927.58 07/21/2022
                                                                                  Payment for 7/2022
501-0 FLAGSTAR BANK                     06/14/2022    2013685      $927.58     $0.00      $927.58 06/23/2022
                                                                                  Payment for 6/2022
501-0 FLAGSTAR BANK                     05/17/2022    2012634      $927.58     $0.00      $927.58 05/25/2022
                                                                                  Payment for 5/2022
501-0 FLAGSTAR BANK                     04/12/2022    2011572      $947.67     $0.00      $947.67 04/20/2022
                                                                                  Payment for 3/2022
501-0 FLAGSTAR BANK                     04/12/2022    2011572      $927.58     $0.00      $927.58 04/20/2022
                                                                                  Payment for 4/2022
501-0 FLAGSTAR BANK                     02/16/2022     2009581     $947.67     $0.00      $947.67 02/25/2022
                                                                                  Payment for 2/2022
501-0 FLAGSTAR BANK                     01/19/2022    2008583      $947.67     $0.00      $947.67 01/25/2022
                                                                                  Payment for 1/2022
501-0 FLAGSTAR BANK                     12/15/2021    2007572      $947.67     $0.00      $947.67 12/23/2021
                                                                                  Payment for 12/2021
501-0 FLAGSTAR BANK                     11/16/2021    2006550      $947.67     $0.00      $947.67 11/24/2021
                                                                                  Payment for 10/2021
501-0 FLAGSTAR BANK                     11/16/2021    2006550      $947.67     $0.00      $947.67 11/24/2021
                                                                                  Payment for 11/2021
501-0 FLAGSTAR BANK                     10/14/2021    2005504      $947.67     $0.00      $947.67 10/26/2021
                                                                                  Payment for 9/2021
501-0 FLAGSTAR BANK                     09/14/2021    2004486      $947.67     $0.00      $947.67 09/27/2021
                                                                                  Payment for 8/2021

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Claim name                       Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                      DisbDescrp
501-0 FLAGSTAR BANK                     08/18/2021       2003445      $947.67      $0.00     $947.67 08/25/2021
                                                                                     Payment for 7/2021
501-0 FLAGSTAR BANK                     07/14/2021       2002408      $947.67     $0.00      $947.67 07/26/2021
                                                                                     Payment for 6/2021
501-0 FLAGSTAR BANK                     06/16/2021       2001435      $947.67     $0.00      $947.67 06/24/2021
                                                                                     Payment for 5/2021
501-0 FLAGSTAR BANK                     05/18/2021       2000416      $947.67     $0.00      $947.67 06/08/2021
                                                                                     Payment for 4/2021
501-0 FLAGSTAR BANK                     04/15/2021       1229043      $947.67     $0.00      $947.67 04/27/2021
                                                                                     Payment for 2/2021
501-0 FLAGSTAR BANK                     04/15/2021       1229043      $947.67     $0.00      $947.67 04/27/2021
                                                                                     Payment for 3/2021
                                                      Sub-totals: $37,744.52      $0.00 $37,744.52

                                                     Grand Total: $37,744.52      $0.00




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                                                Disbursements for Claim
Case: 21-00141            NATHAN A. STEPLER
          FLAGSTAR BANK
                                                                                   Sequence: 24
          5151 CORPORATE DRIVE
                                                                                      Modify:
                                                                                  Filed Date:
          TROY, MI 480982639
                                                                                  Hold Code:
 Acct No: Path Valley Rd - PRE-ARREARS - 7848
          ARREARS - 19759 PATH VALLEY ROAD


                                                  Debt:        $15,490.36       Interest Paid:              $0.00
        Amt Sched:                $140,773.00                                     Accrued Int:               $0.00
         Amt Due:         $0.00                    Paid:       $15,490.36        Balance Due:                $0.00

Claim name                               Type      Date         Check #     Principal     Interest       Total Reconciled
                                                                                               DisbDescrp
 5200        FLAGSTAR BANK
520-0 FLAGSTAR BANK                              06/18/2024     2037279     $6,141.84       $0.00   $6,141.84 06/27/2024


520-0 FLAGSTAR BANK                              04/17/2024     2035329       $285.81       $0.00     $285.81 04/26/2024


520-0 FLAGSTAR BANK                              03/14/2024      2034371     $335.56        $0.00     $335.56 03/25/2024


520-0 FLAGSTAR BANK                              02/14/2024     2033413      $335.56        $0.00     $335.56 02/23/2024


520-0 FLAGSTAR BANK                              01/12/2024     2032504      $335.56        $0.00     $335.56 01/24/2024


520-0 FLAGSTAR BANK                              12/19/2023     2031582      $279.58        $0.00     $279.58 01/02/2024


520-0 FLAGSTAR BANK                              10/18/2023     2029686      $333.73        $0.00     $333.73 10/31/2023


520-0 FLAGSTAR BANK                              09/19/2023     2028687      $835.85        $0.00     $835.85 10/03/2023


520-0 FLAGSTAR BANK                              08/09/2023     2027677       $389.01       $0.00     $389.01 08/21/2023


520-0 FLAGSTAR BANK                              07/11/2023     2026716      $323.92        $0.00     $323.92 07/24/2023


520-0 FLAGSTAR BANK                              05/16/2023     2024833      $344.87        $0.00     $344.87 05/25/2023


520-0 FLAGSTAR BANK                              04/18/2023     2023807      $343.77        $0.00     $343.77 04/25/2023


520-0 FLAGSTAR BANK                              03/15/2023     2022799      $687.53        $0.00     $687.53 03/22/2023


520-0 FLAGSTAR BANK                              01/18/2023     2020785      $804.15        $0.00     $804.15 01/25/2023



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Claim name                       Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                      DisbDescrp
520-0 FLAGSTAR BANK                     12/13/2022       2019796      $358.37      $0.00     $358.37 12/22/2022


520-0 FLAGSTAR BANK                     11/16/2022       2018841      $358.38     $0.00      $358.38 12/07/2022


520-0 FLAGSTAR BANK                     10/18/2022       2017784      $415.18     $0.00      $415.18 10/26/2022


520-0 FLAGSTAR BANK                     09/13/2022       2016754      $415.18     $0.00      $415.18 09/20/2022


520-0 FLAGSTAR BANK                     08/17/2022       2015700      $415.19     $0.00      $415.19 08/24/2022


520-0 FLAGSTAR BANK                     07/13/2022       2014654      $339.44     $0.00     $339.44 07/21/2022


520-0 FLAGSTAR BANK                     06/14/2022       2013686      $339.44     $0.00     $339.44 06/23/2022


520-0 FLAGSTAR BANK                     05/17/2022       2012635      $339.45     $0.00      $339.45 05/25/2022


520-0 FLAGSTAR BANK                     04/12/2022       2011573       $91.23     $0.00        $91.23 04/20/2022


520-0 FLAGSTAR BANK                     02/16/2022       2009582      $324.77     $0.00     $324.77 02/25/2022


520-0 FLAGSTAR BANK                     01/19/2022       2008584      $316.99     $0.00      $316.99 01/25/2022


                                                      Sub-totals: $15,490.36      $0.00 $15,490.36

                                                     Grand Total: $15,490.36      $0.00




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